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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter ll

ENDURO RESOURCE PARTNERS LLC, et al., Case No. 18-11174 (KG)
Debtors.1 (Jointly Administered)

Ref. Docket No. 20

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ORDER (I) APPROVING BIDDING PROCEDURES IN CONNECTION WITH SALE
OF ASSETS OF THE DEBTORS, (II) APPROVING FORM AND MANNER OF
NOTICE, (III) SCHEDULING AUCTION AND SALE HEARING, (IV) AUTHORIZING
PROCEDURES GOVERNING ASSUMPTION AND ASSIGNMENT OF CERTAIN
CONTRACTS AND UNEXPIRED LEASES, AND (V) GRANTING RELATED RELIEF

 

Upon the motion (the “Motion”)2 of the Debtors, for the entry of an order (i) approving
bidding procedures, substantially in the form attached as Annex l hereto (the “Bidding
Procedures”), to govern the marketing and sale of substantially all of the Debtors’ assets (the
“Assels”), and approving bid protections in connection therewith, (ii) authorizing the Debtors to
schedule an auction to sell the Assets (the “Auction”) and scheduling the hearing to approve a
sale of the Assets (the “Sale Hearing”), (iii) approving the form and manner of notice of the
proposed sale transactions, the Bidding Procedures, the Auction, the Sale Hearing, and related
dates and deadlines, (iv) authorizing procedures governing the assumption and assignment of

certain executory contracts and unexpired leases (the “Assumed Contracts”) to the prevailing

 

The debtors in these chapter ll cases, along with the last four digits of each debtor’s United States federal tax
identification number, if applicable, or other applicable identification number, are: Enduro Resource Partners
LLC (6288); Enduro Resource Holdings LLC (5571); Enduro Operating LLC (7513); Enduro Management
Company LLC (5932); Washakie Midstream Services LLC (7562); and Washakie Pipeline Company LLC
(7798). The debtors’ mailing address is 777 Main Street, Suite 800, Fort Worth, Texas 76102.

Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Stalking Horse
Agreements and the Motion, as applicable, and to the extent of` any inconsistency in the defined terms, the
Stalking Horse Agreements shall govern.

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bidder(s) acquiring the Debtors’ assets (each, a “Successful Bidder”), and (v) granting related
relief, as more fully described in the Motion; and upon the Debtors’ having filed the Notice of
Filing of Proposed Purchase and Sale Agreement [Docket No. _] (the “Comstock Notice”) in
connection with the Debtors’ sale process for the North Louisiana Asset Package; and the Court
having reviewed the Motion and the First Day Declaration; and the Court having determined that
the relief requested in the Motion is in the best interests of the Debtors, their estates, their
creditors, and other parties in interest; and the Court having jurisdiction to consider the Motion
and the relief requested therein in accordance With 28 U.S.C. §§ 157 and 1334 and the Amended
Standing Ora'er of Reference from the United States District Court for the District of Delaware
dated as of February 29, 2012; and the Court having found that this is a core proceeding pursuant
to 28 U.S.C. § 157(b)(2) and the Court may enter an order consistent with Article III of the
United States Constitution; and the Court having found that venue of this proceeding and the
Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that
proper and adequate notice of the Motion and the Comstock Notice has been given and that no
other or further notice is necessary; and upon the record herein; and after due deliberation
thereon; and good and sufficient cause appearing therefor, it is hereby:

FoUND AND CoNCLUl)EI) THAT;3

A. The statutory bases for the relief requested in the Motion are sections 105(a), 363,
365, 503, and 507 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532
(the “Bankruptcy Code”) and rules 2002, 3007, 6004, 6006, 9007, and 9014 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”).

 

3 The findings and conclusions set forth herein constitute the Coult’s findings of fact and conclusions of law

pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
the extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To
the extent any of the following conclusions of law constitute findings of fact, they are adopted as such.

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B. Good and sufficient notice of the Motion and the Comstock Notice was given to:
(a) the United States Trustee for the District of Delaware; (b) counsel to the agent and lenders for
the Debtors’ prepetition first lien credit facility; (c) counsel to the agent and lenders under the
Debtors’ prepetition second lien credit facility; (d) counsel to the Debtors’ prepetition majority
equity owner; (e) counsel to the Stalking Horse Bidders; (f) the parties included on the Debtors’
consolidated list of thirty (30) largest unsecured creditors; (g) the United States Attorney’s
Office for the District of Delaware; (h) the attorneys general for the states in which the Debtors
conduct business; and (i) all parties entitled to notice pursuant to Local Rule 2002.

C. The Debtors have articulated good and sufficient reasons for the Court to grant
the relief requested in the Motion regarding the sales process, including (a) the payment of the
Breakup Fee and Expense Reimbursement, if necessary, to the Stalking Horse Bidders in
accordance With the Stalking Horse Agreements, (b) the scheduling of a Bid Deadline (as
defined in the Bidding Procedures), the Auction, and the Sale Hearing with respect to the
proposed sale of the Assets, (c) the establishment of procedures to fix the Cure Amounts (as
defined below) to be paid pursuant section 365 of the Bankruptcy Code of in connection with the
assumption, assignment, and/or transfer of the Assigned Contracts, and (d) approval and
authorization to serve the Sale Notice.

D. On June [6], 2018, Enduro Operating and Comstock Oil & Gas-Louisiana, LLC
(“Comstock”) entered into that certain Purchase and Sale Agreement (the “North Louisiana
Stalking Horse Agreement”), and Comstock constitutes a Stalking Horse Bidder as provided in
the Motion and this Order, and the North Louisiana Stalking Horse Agreement constitutes a

Stalking Horse Agreement as provided in the Motion and this Order.

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E. The Sale Notice (annexed to the Motion as Exhibit D) is reasonably calculated to
provide all interested parties with timely and proper notice of the Bidding Procedures, the
Auction, the Sale Hearing, and the Sale.

F. The Cure Notice (annexed to the Motion as Exhibit C) is reasonably calculated to
provide all non-Debtor counterparties (the “Counterparties”) to the Debtors’ executory contracts
and unexpired leases (each, a “Contract” and, collectively, the “Contracts”) with reasonable and
proper notice of the potential assumption and assignment of their Contract and any cure amounts
relating thereto, although the mere listing of any Contract on the Cure Notice does not require or
guaranty that such Contract will be assumed and assigned and all rights of the Debtors with
respect to such Contracts are reserved (including, but not limited to, with respect to Whether any
Contract constitutes an executory contract).

G. The Stalking Horse Agreements and their terms were negotiated by the Debtors,
their advisors and the Stalking Horse Bidders in good faith and at arms-length.

H. The Bidding Procedures are reasonably designed to maximize the value to be
achieved for the Assets.

I. The Debtors have demonstrated that the Breakup Fee and Expense
Reimbursement are actual and necessary costs and expenses of preserving the Debtors’ estate,
within the meaning of section 503(b) of the Bankruptcy Code, and of substantial benefit to the
Debtors’ estates by inducing a stalking horse bidding floor, Which has established a bid standard
or minimum for other bidders for the Assets, thereby ensuring that during the Auction, the
Debtors receive the highest or best bids possible for the Assets.

J. The entry of this Order is in the best interests of the Debtors, their estates, their

creditors, and other parties in interest.

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IT IS HEREBY ORDERED THAT:

l. The Motion is GRANTED as set forth herein.

2. The Bidding Procedures, substantially in the form attached hereto as Annex 1, are
hereby approved. The Debtors are authorized, but not directed, to take any and all actions
necessary or appropriate to implement the Bidding Procedures.

3. All objections to the relief requested in the Motion that have not been Withdrawn,
waived, or settled as announced to the Court at the hearing on the Motion or by stipulation filed
with the Court, are overruled except as otherwise set forth herein.

4. The Sale Notice, substantially in the form attached to the Motion as Exhibit D, is
hereby approved and shall be served within three (3) business days of entry of this Order, upon
the Notice Parties identified in the Motion, those entities and individuals appearing on the
Debtors’ creditor matrix, and any party that has asserted any interest in any of the Assets in the
twelve (12) months prepetition. Service of the Sale Notice as described above shall be sufficient
and proper notice of the Sale and sale process contemplated by this Order with respect to all
known interested parties.

5. Within ten (10) business days of entry of this Order, the Debtors shall publish the
Publication Notice, substantially similar to the Sale Notice, in the Wall Street Journal and the
Fort Woth Star-Telegram. Publication of the Publication Notice as described above shall be
sufficient and proper notice of the sale and sale process contemplated by this Order With respect
to all unknown parties.

6. The Cure Notice, substantially in the form attached to the Motion as Exhibit C, is
hereby approved. The Cure Notice shall identify the Contracts of the Debtors that may be

assumed and assigned in connection with the sale of the Debtors’ assets and provide the

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corresponding cure amounts that the Debtors believe must be paid to cure all defaults under each
of the Contracts as contemplated by section 365 of the Bankruptcy Code (the “Cure Amounts”).
No later than five (5) business days after entry of this Order, the Debtors shall serve the Cure
Notice on all Counterparties. If at any time after the issuance of the Cure Notice but prior to the
Sale Hearing it is discovered that a Contract should have been listed on the Executory Contracts
Schedule but was not (any such Contract, a “Previously Omitted Contract”), the Debtors shall,
promptly following discovery thereof (but in no event later than five (5) Business Days
following discovery thereof), file and serve a notice on the non-Debtor counterparty(ies) to such
Previously Omitted Contract notifying such counterparties of the Debtors’ intention to assume
and assign such Previously Omitted Contract to the Successful Bidder, including the proposed
Cure Costs relating thereto (the “Previously Omitted Contract Notice”), provided however, that
the Debtors shall not serve Previously Omitted Contract Notices on applicable non-Debtor
counterparty(ies) after July 5, 2018.

7. Notwithstanding anything to the contrary in the Motion, any objection to any
aspect of the relief requested in the Motion must: (a) be in writing and filed with this Court;
(b) comply with the Bankruptcy Rules; (c) set forth the name of the objecting party, the nature
and amount of any claims or interests held or asserted against the Debtors’ estates or properties,
the basis for the objection, and the specific grounds therefor; and (d) be served upon (so as to be
received by) the following parties (collectively, the “Objection Notice Parties”) by the
applicable deadline established in this Order:

a. counsel to the Debtors, (i) Latham & Watkins LLP, 330 North Wabash Avenue,
Suite 2800, Chicago, Illinois 60611, Attn: Caroline A. Reckler
(caroline.reckler@lw.com), Matthew L. Warren (matthew.warren@lw.com) and

Jason B. Gott (jason.gott@lw.com), and (ii) Young Conaway Stargatt & Taylor,
LLP, Rodney Square, 1000 North King Street, Wilmington, Delaware 19801,

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Attn: Michael R. Nestor (mnestor@ycst.com) and Kara Hammond Coyle
(kcoyle@ycst.com);

. the Office of the United States Trustee for the District of Delaware, 844 King

Street, Suite 2207, Lockbox 35, Wilmington, DE 19801 (Attn: Linda Casey);

counsel to the First Lien Agent, Davis Polk & Wardwell LLP, 450 Lexington

Avenue, New York, New York 10017, Attn: Damian Schaible

(damian.schaible@davispolk.com) and Aryeh Falk (aryeh.falk@davispolk.com)

. counsel to the Stalking Horse Bidders, (i) With respect to the North Dakota Asset

Package, Sherill & Gibson PLLC, 3711 Maplewood Avenue, Suite 200, Wichita
Falls, Texas 76308, Attn: R. Caven Crosnoe (ccrosnoe@sgpllc.law) and D. Todd
Davenport (tdavenport@sgpllc.law), (ii) With respect to the Wyoming Asset
Package, Conner & Winters, LLP, 4000 One Williams Center, Tulsa, OK 74172,
Attn.: J. Ryan Sacra (rsacra@cwlaw.com), and (iii) with respect to the North
Louisiana Asset Package and the Trust Related Assets Package, Locke Lord LLP,
JPMorgan Chase Tower, 600 Travis, Suite 2800 Houston, Texas 77002, Attn.:
David Patton (dpatton@lockelord.com) and Philip Eisenberg
(peisenberg@lockelord.com);

counsel for the statutory committee appointed in the Chapter 11 Cases, if one is
appointed; and

those parties who have formally filed requests for notice in the Chapter 11 Cases
pursuant to Bankruptcy Rule 2002.

Objections, if any, to the relief requested in the Motion to be considered at the

Sale Hearing, other than objections expressly described in paragraphs 9 or 10 of this Order, must

be filed and served upon (such as to be received by) the Objection Notice Parties, on or before

5:00 p.m. (Prevailing Eastern Time) on July 2, 2018 (the “Sale Objection Deadline”). For

the avoidance of doubt, all parties in interest reserve and maintain the right to raise any objection

relating to the conduct of the Auction during the Sale Hearing.

9.

Each Counterparty shall have until the earlier to occur of (x) 5:00 p.m. (prevailing

Eastern time) on the date that is fourteen (14) days after the filing and service by the Debtors to

the Counterparty of the Cure Notice or the Previously Omitted Contract Notice (as applicable),

and (y) the Sale Hearing (the “Contract Objection Deadline”) to file and serve upon the

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Objection Notice Parties any objection to the assumption and assignment of such Counterparty’s
Contract on any grounds, including, without limitation, the amount of the Cure Costs, but
excluding any objection as to adequate assurance of future performance under section 365(b)(1)
of the Bankruptcy Code or on the basis of the identity of the Successful Bidder. Any such
objection must be filed and served on the Objection Notice Parties, so as to be actually received
by the Contract Objection Deadline. Any unresolved such objections shall be heard at the Sale
Hearing, unless otherwise agreed by the parties. If any objections to the amount of Cure Costs
remain unresolved as of the date of the Closing of the Sale of any Asset Package, the Debtors
may deposit the disputed amount of Cure Costs relating to such Asset Package in a segregated
account to hold pending resolution of such obj ections.

10. Each Counterparty may raise objections as to adequate assurance of future
performance or on the basis of the identity of the Successful Bidder until the earlier to occur of
(x) 5:00 p.m. (prevailing Eastern time) on the date that is fourteen (14) days after the filing and
service by the Debtors to the Counterparty of a notice identifying the applicable Successful
Bidder, which, for the avoidance of doubt, may be provided with the Cure Notice or the
Previously Omitted Contract Notice or at any time thereafter with respect to the Stalking Horse
Bidders, and (y) the Sale Hearing (the “Buyer Specl`fic Objection Deadline”). Any such
objection must be filed and served on the Objection Notice Parties, so as to be actually received
by the Buyer Specifrc Objection Deadline. Any unresolved such objections shall be heard at the
Sale Hearing, unless otherwise agreed by the parties.

11. Following receipt of the Cure Notice, each Counterparty may submit fax or email
contact information and a request for specific information as to adequate assurance under section

365 of the Bankruptcy Code (an “Adequate Assurance Information Request”) with regards to

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that Counterparty’s Contract and the applicable Stalking Horse Bid or, after the conclusion of the
Auction, the Successful Bid (as defined in the Bidding Procedures). All Adequate Assurance
Information Requests must be submitted to counsel to the Debtors: (a) Latham & Watkins LLP,
facsimile: (312) 993-9767, Attn: Caroline A. Reckler (caroline.reckler@lw.com), Matthew L.
Warren (matthew.warren@lw.com) and Jason B. Gott (iason.gott@lw.com), and (b) Young
Conaway Stargatt & Taylor, LLP, facsimile: (302) 576-3472, Attn: Michael R. Nestor
(mnestor@ycst.com) and Kara Hammond Coyle (kcoyle@ycst.com). The Debtors shall respond
to each Adequate Assurance Information Request at the submitted fax number or email address
no later than twenty-four (24) hours after receipt of such Adequate Assurance Information
Request or, if later, twenty-four (24) hours after receipt of the applicable adequate assurance
information from the applicable bidder. The Debtors shall notify any Counterparty making an
Adequate Assurance Inforrnation Request of the identity of the Successf`ul Bidder as to Such
Counterparty’s Contract within the earlier of twelve (12) hours after the conclusion of the
Auction or four (4) hours prior to the Sale Hearing.

12. Unless the Counterparty to any Contract timely files an objection to its Cure
Amount or to the assumption and assignment of its Contract and timely serves a copy of such
objection upon the Objection Notice Parties in accordance with this Order, such Counterparty
shall forever be barred and estopped from objecting (a) to the Cure Amount as the amount to
cure all defaults to satisfy section 365 of the Bankruptcy Code and from asserting that any
additional amounts are due or defaults exist, (b) that any conditions to assumption and
assignment must be satisfied under such Contract before it can be assumed and assigned or that

any required consent to assignment has not been given, or (c) that the Successful Bidder has not

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provided adequate assurance of future performance as contemplated by section 365 of the
Bankruptcy Code.

13. The inclusion of a Contract or other agreement on the Cure Notice shall not
constitute or be deemed a determination or admission by the Debtors and their estates or any
other party in interest that such Contract or other agreement is, in fact, an executory contract or
unexpired lease within the meaning of the Bankruptcy Code, and any and all rights of the
Debtors and their estates with respect thereto are hereby reserved.

14. Promptly following the Debtors’ selection of the Successful Bid(s) (as defined in
the Bidding Procedures) and the conclusion of the Auction, the Debtors shall announce the
Successful Bid(s) and Successful Bidders(s) and shall file with the Bankruptcy Court a notice of
the Successful Bid(s) and Successhrl Bidders(s). If a Counterparty does not object to: (a) the
Cure Amount for its Contracts; (b) the ability of the Successful Bidders(s) (including the
Stalking Horse Bidder(s) or such other Successful Bidders(s)) to provide adequate assurance of
future performance as required by section 365 of the Bankruptcy Code; or (c) any other matter
pertaining to assumption or assignment, then the Cure Amounts owed to such Counterparty shall
be paid as soon as reasonably practicable after the effective date of the assumption and
assignment of such Contract.

15. In the event of a timely filed objection by a Counterparty regarding: (a) any Cure
Amount With respect to any of the Contracts, the Cure Amounts owed to such Counterparty shall
be paid as soon as reasonably practicable after the later of (i) the effective date of the assumption
and assignment of such Contract, and (ii) the entry of a final order that resolves the dispute and

approves the assumption and assignment of such Contract.

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16. The Debtors are authorized to conduct the Auction as set forth in the Bidding
Procedures.

17. Each bidder participating at the Auction shall be required to confirm that it has
not engaged in any collusion with respect to the bidding or the Sale.

18. No entity, other than the Stalking Horse Bidders, shall be entitled to any expense
reimbursement, break-up fee, “topping,” termination, contribution, or other similar fee or
payment.

19. The Bid Deadline is July 11, 2018 at 5:00 p.m. (Prevailing Eastern Time).
The Auction shall commence on July ,1|2,_ 2018 at 10:00 a.m. (Prevailing Eastern Time). The
Sale Hearing will be conducted on July § 2018 at`c?f:00 ,;i`.m. (Prevailing Eastern Time).
The Sale Orders will be entered on or before July 27, 2018 at 5:00 p.m. (Prevailing Eastern
Time). The Debtors may seek the entry of one or more orders of this Court at the Sale Hearing
approving and authorizing the Sale to the Stalking Horse Bidders or the highest or otherwise best
offer(s) at the Auction, as applicable, on terms and conditions consistent with the applicable
purchase agreement (the “Sale Orders”). The Debtors shall file a proposed form of Sale Orders
no later forty-eight (48) hours prior to the Sale Hearing, provided that the Debtors reserve the
right to amend the proposed form of Sale Orders at any time before or during the Sale Hearing
(subject to the filing or public announcement during the Sale Hearing of the same). The Sale
Hearing may be adjourned or rescheduled without notice other than a notice filed with the Court
or by an announcement of the adjourned date at the Sale Hearing.

20. Any party in interest may attend the Auction; provided however such party in
interest shall provide notice not later than forty eight (48) hours before the commencement of the

Auction to counsel to the Debtor: (a) Latham & Watkins LLP, facsimile: (312) 993-9767, Attn:

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Caroline A. Reckler (caroline.reckler@lw.com), Matthew L. Warren (matthew.warren@lw.com)
and Jason B. Gott (jason.gott@lw.com), and (b) Young Conaway Stargatt & Taylor, LLP,
facsimile: (302) 576-3472, Attn: Michael R. Nestor (mnestor@ycst.com) and Kara Hammond
Coer (kcoyle@ycst.com), and provided further, that the Debtors reserve their rights to contest
the propriety of any such party’s attendance during the Auction.

21. The Expense Reimbursement of each Stalking Horse Bidder, as set forth in the
Stalking Horse Agreements, is approved; provided however that,

a. in connection with the Debtors’ sale process for North Dakota Asset
Package the Expense Reimbursement shall equal the reasonable,
documented, out-of-pocket costs and expenses incurred by Cobra up to a
maximum amount of $450,000.00;

b. in connection with the Debtors’ sale process for Wyoming Asset Package
the Expense Reimbursement shall equal the reasonable, documented,
out-of-pocket costs and expenses incurred by Mid-Con up to a maximum
amount of $75,000.00;

c. in connection With the Debtors’ sale process for the North Louisiana Asset
Package the Expense Reimbursement shall equal the reasonable,
documented, out-of-pocket costs and expenses incurred by Comstock up
to a maximum amount Of $200,000.00; and

d. in connection with the Debtors’ sale process for Trust Related Assets
Package the Expense Reimbursement shall equal the reasonable,
documented, out-of-pocket costs and expenses incurred by Evolution up to

a maximum amount of $275,000.00.

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22. The Breakup Fees are approved in the amount of:

a. $1,350,000.00 for the North Dakota Package;

b. $100,000.00 for the Wyoming Package;

c. $600,000.00 for the North Louisiana Asset Package; and

d. $825,000.00 for the Trust Related Assets Package,
The Breakup Fees shall be paid pursuant to the terms of the Stalking Horse Agreements.

23. The obligation of the Debtors to pay the Expense Reimbursement and Breakup

Fees: (i) shall be entitled to administrative expense claim status under sections 503(b)(1)(A) and
507(a)(2) of the Bankruptcy Code (but for the avoidance of doubt and notwithstanding anything
in any Stalking Horse Agreement to the contrary, shall not be entitled to superpriority
administrative expense claim status); (ii) shall not be subordinate to any other administrative
expense claim against the Debtors or any adequate protection order in existence as of the date
hereof except as set forth in the Bidding Procedures; (iii) shall survive the termination of the
Stalking Horse Agreements; and (iv) shall be payable at the times set forth in the Stalking Horse
Agreement For the avoidance of doubt: (a) as set forth in paragraphs 21 and 22 above, any
applicable Bid Protections, Expense Reimbursement and/or Breakup Fee payable to any Stalking
Horse Bidder shall be paid in accordance with the terms of the applicable Stalking Horse
Agreement; and (b) any applicable Bid Protections, Expense Reimbursement and/or Breakup
Fees shall be paid from the proceeds arising from the consummation of any applicable
Altemative Transaction or Superior Proposal free and clear of all Liens and prior to any other
distribution of such proceeds, and any applicable Sale Order shall require that any applicable Bid
Protections, Expense Reimbursement and/or Breakup Fee be paid from the proceeds arising from

the consummation of any such Altemative Transaction or Superior Proposal free and clear of all

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Liens and prior to any other distribution of such proceeds. The First Lien Lenders will make no
credit bid on any Asset Package subject to a Stalking Horse Agreement.

24. Notice of the Motion as provided therein shall be deemed good and sufficient
notice, and the requirements of Bankruptcy Rule 6004(a) are satisfied by such notice or
otherwise deemed waived.

25. Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order
shall be immediately effective and enforceable upon its entry.

26. All time periods set forth in this Order shall be calculated in accordance with
Bankruptcy Rule 9006(a).

27. The Debtors are authorized to take all actions necessary to effectuate the relief
granted pursuant to this Order in accordance With the Motion.

28. The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

Dared: l , 2018
W lmington, Delaware

    

Kevin Gr s
United States Bankruptcy J ge

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